Case 6:22-cv-00834-TAD-PJH Document 1-2 Filed 03/25/22 Page 1 of 5 PageID #: 8




                                                                     EXHIBIT A
Case 6:22-cv-00834-TAD-PJH Document 1-2 Filed 03/25/22 Page 2 of 5 PageID #: 9
Case 6:22-cv-00834-TAD-PJH Document 1-2 Filed 03/25/22 Page 3 of 5 PageID #: 10
Case 6:22-cv-00834-TAD-PJH Document 1-2 Filed 03/25/22 Page 4 of 5 PageID #: 11
Case 6:22-cv-00834-TAD-PJH Document 1-2 Filed 03/25/22 Page 5 of 5 PageID #: 12
